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 6

 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT TACOMA

 9   STATE OF WASHINGTON,                                    NO.

10                             Plaintiff,                    COMPLAINT FOR DAMAGES

11         v.

12   UNITED STATES OF AMERICA; and
     JOHN DOES 1-5,
13
                               Defendants.
14

15                                         I.   INTRODUCTION

16          1.1     On February 9, 2015, a military forklift owned by the United States Army and

17   operated by Soldiers assigned to Joint Base Lewis McChord (JBLM), traveled westbound on

18   41st Division Drive just outside JBLM’s Main Gate. The forklift was traveling with its boom

19   in an elevated position, too high to pass safely underneath the overpass bridge that supports

20   the northbound lanes of State Route/Interstate 5 (I-5). Despite having sufficient opportunity to

21   lower the boom or stop the forklift, the operator continued to drive the forklift underneath the

22   bridge, which caused the boom to crash into one of the bridge’s support girders. The force of

23   the forklift slamming into the bridge required emergency inspection and repair work to ensure

24   the safety of the traveling public.
     COMPLAINT FOR DAMAGES                           1                  ATTORNEY GENERAL OF WASHINGTON
                                                                        Transportation & Public Construction Division
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 1          Plaintiff State of Washington, through its Department of Transportation (WSDOT or

 2   State) is the owner of the bridge that is the subject of this lawsuit. The State brings this action

 3   under the Federal Tort Claims Act (FTCA) to recover the substantial damages caused by the

 4   dangerous, negligent actions of the Defendants that caused the collision. In support of this

 5   action, the State alleges as follows:

 6                                            II.    PARTIES

 7          2.1       Plaintiff is the State of Washington. It owns, operates, and maintains within its

 8   boundaries a highway system for the benefit of the traveling public, including I-5, 41st

 9   Division Drive, and the Overpass that are the subjects of this litigation.

10          2.2       Defendant, the United States of America (United States) is a body politic that,

11   for purposes of this litigation, operates through its executive branch the Department of Defense

12   (DOD) that oversees the Department of the Army (Army), a uniformed military service of the

13   United States. Pursuant to the FTCA, the United States is charged with defending claims

14   brought against executive departments, including the Army, as well as the Army’s uniformed

15   service members, employees, and agents. 28 U.S.C. §§ 2671-2680.

16          2.3       At all times mentioned herein, the United States was responsible for ensuring

17   its service members, employees, and agents operated Army equipment both on and off Army

18   installations in a reasonable, safe, and prudent manner, including on public highways and other

19   rights of way.

20          2.4       At all times mentioned herein, the United States was responsible under the

21   FTCA for the negligent acts or omissions of its service members, employees, and agents.

22                                III.    JURISDICTION AND VENUE

23          3.1       Pursuant to 28 U.S.C. § 1331 and the FTCA, 28 U.S.C. §§ 2671-2680, this

24   Court has jurisdiction over the claims alleged against the United States.
     COMPLAINT FOR DAMAGES                             2                  ATTORNEY GENERAL OF WASHINGTON
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 1          3.2      This Court has jurisdiction over any non-FTCA claims alleged against

 2   John Does 1-5 pursuant to 28 U.S.C. § 1367(a) (supplemental jurisdiction).

 3          3.3      Pursuant to 28 U.S.C. § 1402, venue is proper in the Western District of

 4   Washington because the acts, omissions, and damages alleged herein occurred in

 5   Pierce County, Washington.

 6          3.4      Plaintiff filed a FTCA claim form on November 15, 2016. More than six months

 7   has elapsed since Plaintiff filed its FTCA claim form.

 8
                                               IV.    FACTS
 9          4.1      Plaintiff restates each and every claim, assertion, and allegation contained in

10   paragraphs 1.1 through 3.3 of this Complaint as if fully set forth herein.

11          4.2      The State, through WSDOT, owns, operates, and maintains I-5 within its

12   boundaries, as well as its supporting right of way.

13          4.3      The United States, through the DOD and the Army, owns, operates, and

14   maintains JBLM, a military installation located in Pierce County.

15          4.4      I-5 passes alongside JBLM’s boundaries in Pierce County, including at I-5

16   Milepost 120.

17          4.5      The State, through WSDOT, owns, operates, and maintains a traffic interchange

18   at approximately Milepost 120 of I-5 (Exit 120). Exit 120 enables motorists to access JBLM

19   and I-5’s northbound and southbound lanes of travel.

20          4.6      At Exit 120, I-5 and its right of way divides JBLM into two areas; “JBLM

21   North” (commonly referred to as “North Fort”) on the northwestern side of I-5, and “JBLM

22   Main” on the southeastern side of I-5.

23

24
     COMPLAINT FOR DAMAGES                            3                  ATTORNEY GENERAL OF WASHINGTON
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 1           4.7     The 41st Division Drive is a public way, owned, operated, and maintained by

 2   the State through WSDOT within the limits of I-5’s right of way. It is part of the Exit 120

 3   interchange and connects JBLM Main and JBLM North.

 4           4.8     I-5 passes over 41st Division Drive at Exit 120. The State, through WSDOT,

 5   owns, operates, and maintains two overpass bridges that stretch over 41st Division Drive; one

 6   for I-5’s northbound lanes, one for I-5’s southbound lanes. The overpass bridge that services

 7   I-5’s northbound lanes (the Overpass) is the subject of this lawsuit.

 8           4.9     On February 9, 2015, a Soldier or Soldiers assigned to JBLM were operating

 9   an All Terrain Lifter Army System (ATLAS) forklift in the westbound lanes of 41st Division

10   Drive. At all times relevant to this lawsuit, the ATLAS was owned, operated, and maintained

11   by the United States through the Army.

12           4.10    Upon information and belief, at all times material hereto, the Soldier or Soldiers

13   operating the ATLAS were on duty and acting within the scope of their service/employment

14   in the Army and had express or implied permission of the Army to operate the ATLAS.

15           4.11    The ATLAS has a height of approximately nine feet when its hydraulic “boom”

16   that lifts its fork carriages is in the lowered position. Its boom can lift loads in excess of 20 feet

17   above ground level.

18           4.12    The United States, through the Army, has strict training requirements for its

19   Soldiers, employees, and agents who operate Army equipment, including the ATLAS.

20           4.13    The Overpass has a maximum vertical clearance of 14 feet, 7 inches. Signs on

21   the Overpass visible to motorists traveling on 41st Division Drive indicate this maximum

22   vertical clearance.

23           4.14    The ATLAS approached the Overpass with its boom in an elevated position that

24   exceeded the Overpass’s maximum vertical clearance.
     COMPLAINT FOR DAMAGES                              4                   ATTORNEY GENERAL OF WASHINGTON
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 1          4.15    The Soldier(s) and the Army had a responsibility to ensure the ATLAS operated

 2   with its boom low enough to clear underneath the Overpass. The Soldier(s) and the Army failed

 3   to do this, even though they knew or should have known that the boom would not fit underneath

 4   the Overpass unless it was lowered.

 5          4.16    The ATLAS struck the overpass on February 9, 2015.

 6          4.17    The ATLAS’s collision with the Overpass caused significant damage to one of

 7   the Overpass’s concrete bridge girders.

 8          4.18    Shortly after the collision, Soldiers assigned to the 42nd Military Police (MP)

 9   Brigade stationed on JBLM arrived at the scene of the collision and conducted an investigation.

10   The investigation determined that the ATLAS struck the Overpass because its boom exceeded

11   the Overpass’s maximum vertical clearance.

12          4.19    The legal maximum height for loads in the State of Washington is 14 feet.

13   Vehicles or loads higher than 14 feet require a special permit from WSDOT. None of the

14   Defendants applied for or obtained a permit, even though they knew or should have known the

15   ATLAS constituted an oversized vehicle as it was being operated on February 9, 2015.

16          4.20    The Soldier(s) and the Army were required to take reasonable and necessary

17   steps to determine whether the ATLAS could safely pass under the Overpass with its boom in

18   the elevated position. They did not. Instead, the Soldier(s) drove the ATLAS toward the

19   Overpass, which they knew or should have known did not have sufficient vertical clearance to

20   accommodate the boom’s elevated position.

21          4.21    Had the Soldier(s) acted reasonably, prudently, and safely by lowering the

22   boom before reaching the Overpass or planning an alternative route around the Overpass, the

23   February 9, 2015 collision would not have occurred.

24
     COMPLAINT FOR DAMAGES                           5                 ATTORNEY GENERAL OF WASHINGTON
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 1             4.22    Defendants each failed to investigate and ensure there was sufficient vertical

 2   clearance under the Overpass to allow the ATLAS to safely pass underneath it without striking

 3   and damaging the Overpass.

 4                    V.       CAUSE OF ACTION—NEGLIGENCE—RCW 46.44.110

 5             5.1     Plaintiff incorporates and reasserts each and every claim, assertion, and

 6   allegation contained in paragraphs 1.1 through 4.22 of this Complaint as if fully set forth

 7   herein.

 8             5.2     Defendants had a duty to operate the ATLAS in a reasonable, safe, and prudent

 9   manner. Defendants failed to do in at least the following ways:

10                     5.2.1    Defendants failed to measure the height of the ATLAS’s boom prior to

11             approaching the Overpass, which dangerously and needlessly increased the risk that

12             the boom would strike and damage the Overpass;

13                     5.2.2    Defendants failed to make sure there was sufficient vertical clearance

14             on 41st Division Drive for the boom to safely pass underneath the Overpass without

15             striking it;

16                     5.2.3    Defendant United States failed to adequately train and supervise its

17             Soldier(s) in the safe operation of the ATLAS on public rights of way and underneath

18             elevated structures, including, but not limited to, the importance of accurately

19             determining the height of the ATLAS’s boom as it approached the Overpass;

20                     5.2.4    Defendants failed to determine and follow a route capable of

21             accommodating the ATLAS with its boom in an elevated position;

22                     5.2.5    Defendants failed to lower the ATLAS’s boom to a lowered position

23             that could accommodate the Overpass’s maximum vertical clearance; and,

24
     COMPLAINT FOR DAMAGES                              6                 ATTORNEY GENERAL OF WASHINGTON
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 1                     5.2.6      Defendants failed to apply for or obtain an oversized load permit from

 2             WSDOT.

 3             5.3     Defendants breached these duties on February 9, 2015 when the Soldier(s)

 4   drove the ATLAS in the westbound lanes of 41st Division Drive in the vicinity of the Exit 120

 5   interchange that, because of its height, could not safely pass under the I-5 northbound overpass

 6   bridge.

 7             5.4     As a direct and proximate cause of Defendants’ negligent acts and omissions

 8   set forth above, the ATLAS struck the Overpass, and the State has incurred damages and losses.

 9             5.5     Pursuant to RCW 46.44.110, Defendants are jointly and severally liable for the

10   State’s damages set forth herein.

11                                                VI.    PRAYER

12             6.1     WHEREFORE, the Plaintiff requests judgment against Defendants for:

13                     6.1.1      For all costs incurred in responding to the February 9, 2015 collision

14             that is the subject of this lawsuit, including, but not limited to: the cost of the initial

15             Overpass damage assessment; the cost to clear 41st Division Drive of debris; all related

16             traffic control, detours, lane and ramp closures, and any other temporary responses to

17             the collision; and, the costs incurred in the design and construction of all emergency

18             repairs to the I-5 northbound Milepost 120 Overpass.

19                     6.1.2      For further economic and non-economic damages in an amount to be

20             proven at trial.

21   //

22   //

23   //

24   //
     COMPLAINT FOR DAMAGES                                7                 ATTORNEY GENERAL OF WASHINGTON
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                  6.1.3 For the State's costs and disbursements incurred herein.

 2                6.1.4 For such other relief as this Court deems just and equitable.

 3          DATED this         day of December 2018.

 M                                             ROBERT W. FERGUSON
                                               Attorney General
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 6

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